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                                                      December 29, 2022


     VIA ECF

     Hon. Lorna G. Schofield
     United States District Judge
     United States Courthouse
     40 Foley Square
     New York, NY 10007

             Re:      Robert Ryuichi Mitsugi v. Eunji Jung, No. 1:22-cv-08025 (LGS)

     Dear Judge Schofield:

              Pursuant to the Court’s Civil Case Management Plan and Scheduling Order dated
     December 1, 2022 (ECF No. 21, Dec. 1, 2022), Robert Ryuichi Mitsugi (“Petitioner”) and
     Eunji Jung (“Respondent”), proceeding pro se, (together, “Parties”), jointly submit this
     joint status letter.

           (a) What discovery has taken place, specifically (1) What discovery requests
     have been propounded, who propounded each request and on what date, (2) What
     responses were made, who made each response and on what date, (3) The volume of
     documents produced, who produced the documents and when;

             Pursuant to the Court’s December 1, 2022 Order (ECF No. 19, Dec. 1, 2022), the
     Parties have produced the documents in their possession relating to the family court
     proceeding in Japan. On December 16, 2022, Petitioner produced 12 documents, each
     ranging from 2 to 20 pages in length. On December 3, 2022 and December 14, 2022,
     Respondent produced documents to Petitioner. Respondent produced a total of 28
     documents, each ranging from 1 to 34 pages in length.

             (b) The procedural history of the case to date, specifically (1) What pleadings
     have been filed, who filed each pleading and on what date, (2) What motions, if any,
     have been filed, who filed each motion and on what date each motion was filed, (3)
     What motions, if any, are currently pending and, for each pending motion, the date
     it was or is scheduled to be fully briefed; and

           On September 20, 2022, Petitioner filed the Verified Petition for Return of KLM
     and RHM Pursuant to the Hague Convention on the Civil Aspects of International Child
     Abduction (ECF No. 1, Sept. 20, 2022);

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       On September 29, 2022, Petitioner filed an Amended Verified Petition for Return
of KLM and RHM Pursuant to the Hague Convention on the Civils Aspects of International
Child Abduction (ECF No. 5, Sept. 29, 2022);
       On October 25, 2022, the Parties filed a Notice of Joint Agreement and Request for
Extension of Time for Respondent’s Answer to the Amended Verified Petition for Return
of KLM and RHM Pursuant to Hague Convention (ECF No. 11, Oct. 25, 2022);
       On November 8, 2022, Respondent filed her Answer to Petitioner’s Amended
Verified Petition (ECF No. 15, Nov. 8, 2022);
       On November 23, 2022, the Parties filed a Joint Letter to the Court, including the
Proposed Civil Case Management Plan and Scheduling Order (ECF No. 18, Nov. 23,
2022);
       On December 22, 2022 the Parties filed a Joint Request to Reset Mediation Date
(ECF No. 23, Dec. 22, 2022). The first date of mediation shall take place on January 13,
2023.

       There are no pending motions.

       (c) The parties’ plans to ensure that they meet the Court ordered discovery
deadlines.

        The Parties met the Court’s December 16, 2022 deadline to produce documents
related to the Japanese family court proceeding. The Parties believe they are on track to
meet the Court’s January 13, 2023 fact discovery deadline.

       The Parties appreciate Your Honor’s attention to this matter.



                                                   Respectfully submitted,
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